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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA,                   :
                                               :
          Plaintiff,                           :
                                               :
   v.                                          :      Case No. 8:06-cr-314-T-30MAP
                                               :
   TONY JEROME HENRY and                       :
   HELENA JONES,                               :
                                               :
          Defendants.                          :
                                               :


                            FINAL ORDER OF FORFEITURE

          THIS CAUSE comes before the Court upon the filing of the Motion (Dkt.

   #318) by the United States for a Final Order of Forfeiture for the following:

                  (a)    1997 Chevrolet Tahoe, VIN# 1GNEC13R0VJ321377;

                  (b)    1999 Dodge Ram Pick-up, #VIN 3B7HC12Y0XG153132;

                  (c)    1991 BMW 4 door coupe, VIN # WBAHD2311MBF70235;

                  (d)    $778.00 in United States Currency seized at 5606 86th Street
                         on November 2, 2006;

                  (e)    $5,200.00 in United States Currency seized at 1841 Cadillac
                         Circle on June 30, 2006; and

                  (f)    One man’s Rolex watch and assorted women’s jewelry seized
                         at 1841 Cadillac Circle on June 30, 2006.

          The Court hereby finds that, pursuant to 21 U.S.C. § 853(n)(1), the United

   States published notice of the Preliminary Order of Forfeiture. No persons or

   entities with an interest in the property have timely filed a petition.
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             Accordingly, it is hereby

             ORDERED, ADJUDGED AND DECREED that for good cause shown, said

   Motion (Dkt. #318) of the United States is hereby GRANTED.

             IT IS FURTHER ORDERED that the above-referenced property is hereby

   forfeited to the United States of America pursuant to the provisions of 21 U.S.C. §

   853(n)(7), and Fed. R. Crim. P. 32.2(c)(2). Clear title to the property is now vested

   in the United States of America.

             IT IS FURTHER ORDERED that the United States Marshals Service or the

   Department of Treasury, Bureau of Alcohol, Tobacco, Firearms, and Explosives

   and/or its custodian, be and is hereby given full possession and control of the

   property for disposition pursuant to law.

             DONE and ORDERED in Tampa, Florida on June 17, 2008.




   Copies to:
   Anita M. Cream, AUSA
   Attorneys of Record
   F:\Docs\2006\06-cr-314.fj forfeit 318.wpd




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